Case 2:11-cr-20468-TGB-MKM ECF No. 1517, PageID.20855 Filed 12/28/15 Page 1 of 14




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


  UNITED STATES OF AMERICA,
                                              Case No. 11-20468
              Plaintiff,                      Civil Case No. 15-13230

  v.                                          SENIOR U.S. DISTRICT JUDGE
                                              ARTHUR J. TARNOW
  BABUBHAI PATEL,

              Defendant.

                                     /


                               ORDER DENYING:
          1. MOTION TO DISMISS COUNT ONE OF THE INDICTMENT BECAUSE OF
                              DUPLICITY ERROR [1093];
                         2. MOTION FOR NEW TRIAL [1098];
          3. RENEWED MOTION FOR LEAVE TO FILE SUBPOENA RECORDS [993];
         4. MOTION TO SUPPLEMENT PENDING MOTION FOR NEW TRIAL [1105];
       5. MOTION TO FILE SECOND SUPPLEMENT TO PENDING MOTION FOR NEW
                                   TRIAL [1466];
         6. MOTION TO SUPPLEMENT PENDING MOTION UNDER 28 U.S.C. § 2255
                                       [1490];
     7. MOTION FOR DISPOSITION ON PENDING MOTION FOR LEAVE TO SUBPOENA
                     RECORDS AND MOTION FOR NEW TRIAL [1331];
               8. MOTION FOR DISPOSITION ON PENDING MOTIONS [1486]
       9. MOTION TO SUPPLEMENT PENDING MOTION TO DISMISS COUNT ONE OF
                  THE INDICTMENT BECAUSE OF DUPLICITY ERROR [1121]
   10. MOTION FOR EXTENSION OF TIME TO FILE REPLY TO RESPONSE TO MOTION
                               TO VACATE [1510]




                                         1
Case 2:11-cr-20468-TGB-MKM ECF No. 1517, PageID.20856 Filed 12/28/15 Page 2 of 14




        On August 10, 2012, Defendant was found guilty by a jury of health care

  fraud conspiracy and conspiracy to distribute controlled substances, as well as ten

  substantive health care fraud counts and fourteen substantive drug distribution

  counts. On February 1, 2013, he was sentenced to 204 months imprisonment.

        Defendant filed a Renewed Motion for leave to Subpoena Records [993] on

  August 7, 2013. The Government responded on September 4, 2013 [1004]. The

  response adopted and incorporated by reference their earlier response [616] to

  Defendant’s earlier Motion for Leave to Subpoena Records. Defendant replied

  [1012] on September 11, 2013. On December 26, 2013, Defendant filed a Motion

  to Dismiss Count One of the Indictment because of Duplicity Error [1093].

        Defendant filed a Motion to Supplement the Pending Motion to Dismiss

  Count One [1121] on January 1, 2014. Defendant filed a Motion for a New Trial

  [1098] on January 9, 2014. On January 16, 2014, Defendant filed a Motion to

  Supplement Pending Motion for New Trial [1105], and a second Motion to

  Supplement Pending Motion for New Trial [1466] was filed on July 6, 2015.

  Defendant filed a Motion for disposition of the Motion for New Trial and Motion

  to Subpoena Records [1331] on November 21, 2014 and filed a second Motion for

  Disposition on Pending Motions [1486] on October 8, 2015. On September 11,

  2015, Defendant filed a Motion to Vacate Sentence under 28 U.S.C. 2255 [1475]

                                           2
Case 2:11-cr-20468-TGB-MKM ECF No. 1517, PageID.20857 Filed 12/28/15 Page 3 of 14




  to which the Government responded [1506] on November 30, 2015. On December

  9, 2015, Defendant requested an extension of time until January 1, 2016 to reply to

  Government’s Response [1510]. On October 30, 2015, Defendant filed a Motion to

  Supplement Pending Motion under 28 U.S.C. § 2255 [1490].

        For the reasons stated below, Defendant’s Motion to Dismiss Count one of

  the Indictment [1093] is DENIED; Defendant’s Motion to Supplement Pending

  Motion to Dismiss Count one of the Indictment [1121] is DENIED; Defendant’s

  Motion for New Trial [1098] is DENIED; Defendant’s Renewed Motion for Leave

  to Subpoena Records [993] is DENIED; Defendant’s Motion to Supplement

  Pending Motion for New Trial [1105] is DENIED; Defendant’s Motion to File

  Second Supplement to the Pending Motion for New Trial [1466] is DENIED;

  Petitioner’s Motion to Supplement his Pending Motion under 28 U.S.C. § 2255

  [1490] is DENIED; Defendant’s Motion for Disposition on pending Motion for

  Leave to Subpoena records and his Motion for new trial [1331] are DENIED as

  moot; Defendant’s Motion for disposition on pending Motions [1486] is also

  DENIED as moot. Defendant’s Motion for Extension of time to Reply to

  Response to Motion to Vacate Sentence [1510] is DENIED as moot.




                                           3
Case 2:11-cr-20468-TGB-MKM ECF No. 1517, PageID.20858 Filed 12/28/15 Page 4 of 14




  FACTUAL BACKGROUND

        On appeal from Defendant’s conviction, the Sixth Circuit summarized the

  background of this case, in pertinent part, as follows:

               The conspiracies began in January 2006 and ended in August 2011
               when Patel and his associates were arrested, effectively ending their
               illegal activities. The number of pharmacies controlled by Patel varied
               over time, and he changed their corporate structures frequently. Patel
               hired all of the staff and supervised the pharmacy operations.

               The scheme to defraud insurers depended on the participation of
               physicians, pharmacists, recruiters, and patients. Patel paid cash bribes
               to physicians to entice them to write patient prescriptions for
               expensive medications and controlled substances that could be billed
               to Medicare, Medicaid, or private insurers through the Patel
               pharmacies. He paid kickbacks to managers of health-related
               companies so that they would send patients to his pharmacies, and he
               employed “marketers” to recruit “patients” directly from the streets.

               Pharmacists facilitated the criminal activity by charging insurers for
               expensive Medications that were ordered from wholesale distributors
               and held in inventory but not dispensed to patients. These surplus
               medications were later returned to the supplier for credit or sold on the
               black market. Pharmacists also billed insurers for controlled
               substances that the pharmacists knew were illegally prescribed. These
               controlled medications included Hydrocodone (Vicodin, Lortab),
               oxycodone (Oxycontin), alprazolam (Xanax), and codeineinfused
               cough syrup. When filling prescriptions, the pharmacists usually
               “shorted” the number of dosage units placed in the medication vials
               for patients, billed the insurers for the full drug quantities prescribed,
               and then sold the excess pills on the street.

               A significant portion of the prescription fraud was perpetrated through
               Visiting Doctors for America (VDA), a physician group that
               purported to provide home doctor visits to patients. Marketers
               recruited “patients” from homeless shelters and soup kitchens by
                                            4
Case 2:11-cr-20468-TGB-MKM ECF No. 1517, PageID.20859 Filed 12/28/15 Page 5 of 14




              offering them small amounts of cash or controlled substances. The
              marketers transported the “patients” to a VDA physician, who
              performed cursory examinations of the “patients” while they sat
              together in one room. VDA staff provided the co-conspirators with
              dummy patient files and blank prescription pads previously signed by
              a physician or physician’s assistant. Mehul Patel and later Arpit Patel,
              neither of whom is a physician, wrote prescriptions for controlled
              medications and expensive non-controlled medications on these blank,
              pre-signed prescription pads. The prescriptions were taken to the Patel
              pharmacies, where the pharmacists used the dummy patient files to
              enter patient profiles into the computer database, billed for all of the
              medications prescribed, but filled only the controlled medications.
              The controlled substances were then distributed, or sold on the street.

              Patel paid his pharmacists salaries, bonuses, and twenty percent of
              pharmacy profits to encourage them to engage in fraudulent practices.
              The pharmacies distributed nearly 500,000 dosage units of Schedule II
              controlled substances (including oxycodone), approximately 4.9
              million dosage units of Schedule III controlled substances (including
              hydrocodone), nearly 2.3 million dosage units of Schedule IV
              controlled substances (including alprazolam), and approximately 2.5
              million dosage units of Schedule V controlled substances. Between
              2006 and 2011, the Patel pharmacies billed Medicare approximately
              $37,770,557; Medicaid approximately $23,134,691; and Blue
              Cross/Blue Shield of Michigan approximately $6,359,872.

              Babubhai Patel was convicted of health care fraud conspiracy in
              violation of 18 U.S.C. § 1349 (count 1), drug conspiracy in violation
              of 21 U.S.C. § 846 (count 15), ten counts of aiding and abetting health
              care fraud in violation of 18 U.S.C. § 1347 & § 2 (counts 2–5, 7–9,
              12–14), and fourteen counts of aiding and abetting the unlawful
              distribution of controlled substances in violation of 21 U.S.C. §
              841(a)(1) & 18 U.S.C. § 2 (counts 20–32, 34). He was acquitted on
              three counts of aiding and abetting health care fraud (counts 6, 10–11)
              and five counts of aiding and abetting the unlawful distribution of
              oxycodone and hydrocodone (counts 16–19, 33). The district court
              sentenced him to a total term of imprisonment of 204 months,

                                          5
Case 2:11-cr-20468-TGB-MKM ECF No. 1517, PageID.20860 Filed 12/28/15 Page 6 of 14




              supervised release of three years, and payment of restitution in the
              total amount of $18,955,869.

  ANALYSIS

     1. MOTION FOR A NEW TRIAL [1098]; RENEWED MOTION TO SUBPOENA

        RECORDS [993]

        Defendant filed a Renewed Motion for leave to Subpoena Records [993] on

  August 7, 2013. The Government responded on September 4, 2013 [1004]. The

  response adopted and incorporated by reference an earlier response [616] to

  Defendant’s prior Motion for Leave to Subpoena Records. Defendant’s Motion for

  a New Trial [1098] was filed on January 9, 2014. For the reasons stated below, the

  Motions for leave to Subpoena Records [993] and for a New Trial [1098] are

  DENIED.

        Defendant is seeking to subpoena records from the McKesson Corporation,

  including all drugs purchased from McKesson Corp, the cost of the drugs

  purchased, the amount of drugs returned for credit refund, the amount of return

  credit, and the customer signatures from the prescribed and dispensed drugs for

  each of the listed pharmacies. The thirty-two pharmacies referred to are all owned

  by the Defendant and were listed on the indictment. Defendant alleges in his

  Motion for a New Trial, that these records are newly discovered evidence that



                                           6
Case 2:11-cr-20468-TGB-MKM ECF No. 1517, PageID.20861 Filed 12/28/15 Page 7 of 14




  would support the finding that there was a Brady violation, which, in turn, is a

  basis for a new trial. United States v. Jones, 399 F.3d 640, 648 (6th Cir. 2005).

        A jury found defendant guilty on August 10, 2012, and the Motion for a

  New Trial was filed on January 14, 2014. Pursuant to Rule 33, the Motion for a

  New Trial must fall under 33(b)(1), and be grounded on newly discovered

  evidence. Defendant’s Motion for a New Trial is predicated upon his allegations

  that the evidence sought in his Renewed Motion for Leave to Subpoena Records

  constitutes newly discovered evidence. Therefore, the analysis of the requested

  evidence will be examined pursuant to the standard imposed by Federal Rule of

  Criminal Procedure 33(b)(1) (Fed. R. Crim. P. 33), an examination which leads

  this Court to deny both Motions at issue.

        Motions for New Trial based on newly discovered evidence are “disfavored

  and should be granted with caution.” United States v. Seago, 930 F.2d 482, 488

  (6th Cir. 1991), citing United States v. O'Dell, 805 F.2d 637, 640 (6th Cir.1986),

  cert. denied, 484 U.S. 859, 108 S.Ct. 170, 98 L.Ed.2d 124 (1987). A successful

  Motion for New Trial based on newly discovered evidence must show:

               (1) the new evidence was discovered after the trial; (2) the evidence
               could not have been discovered earlier with due diligence; (3) the
               evidence is material and not merely cumulative or impeaching; and
               (4) the evidence would likely produce an acquittal. United States v.
               Turner, 995 F.2d 1357, 1364 (6th Cir.), cert. denied, 510 U.S. 904,
               114 S.Ct. 282, 126 L.Ed.2d 232 (1993).
                                              7
Case 2:11-cr-20468-TGB-MKM ECF No. 1517, PageID.20862 Filed 12/28/15 Page 8 of 14




        Defendant fails the first step of the analysis, because he cannot prove that

  the evidence was discovered after his trial. Defendant contends that the evidence is

  newly discovered because he only learned of the relevancy of the evidence after

  the trial was completed [1012]. However, this misconstrues the meaning of newly

  discovered evidence. It is well settled in the Sixth Circuit, and in a majority of

  other Circuits, that evidence is not newly discovered if a Defendant was aware of

  the evidence at trial, even if such evidence was unavailable to him during trial. See,

  e.g., United States v. Glover, 21 F.3d 133, 138-39 (6th Cir. 1994); United States v.

  Jasin, 280 F.3d 355, 362, 364 (3d Cir.2002) (holding that “evidence known but

  unavailable at trial does not constitute ‘newly discovered’ within the meaning of

  Rule 33”); see also, United States v. Theodosopoulos, 48 F.3d 1438, 1448-49 (7th

  Cir.1995) (same); United States v. Muldrow, 19 F.3d 1332, 1339 (10th Cir.1994)

  (same); United States v. Lockett, 919 F.2d 585, 591-92 (9th Cir.1990) (same).

        The Defendant knew of the existence of the McKesson records well before

  the trial started because the records are invoices for the pharmacies that he himself

  owned and reflect transactions that his business undertook with McKesson. Indeed,

  the McKesson invoices were seized from Defendant’s pharmacies by the

  Government and were available to the Defendant in pretrial discovery. Moreover,



                                             8
Case 2:11-cr-20468-TGB-MKM ECF No. 1517, PageID.20863 Filed 12/28/15 Page 9 of 14




  the Government employed some of these records at trial as exhibits, so the

  existence of this evidence was certainly not unknown [616 at 2].

        Further, even if this evidence were considered newly discovered, as required

  by the Rule it would not result in an acquittal. As this Court stated in its Order

  Denying Defendant’s earlier Motion to Produce [676] the McKesson evidence

  prior to sentencing: “whether Defendant returned drugs that were billed but not

  dispensed, or retained the proceeds from said returns, is not relevant to his guilt at

  trial or his sentencing” since the primary fraud scheme for which Defendant was

  indicted was completed when insurers were billed for prescription drugs that were

  not dispensed.” The McKesson invoices only relate to the case at bar as a means to

  cover up the crime in case of an audit and hence would not lead to an acquittal.

        Defendant unquestionably knew of the existence of the McKesson records

  before the trial started. Therefore, his Motion for a New Trial [1098] is DENIED.

  Because that Motion is denied, Defendant’s Renewed Motion for Leave to

  Subpoena Records to support his Motion for a New Trial [993] is also DENIED.

     2. MOTION TO SUPPLEMENT PENDING MOTION FOR NEW TRIAL [1105]

        Defendant’s Motion to Supplement his Pending Motion for a New Trial

  [1105] was filed on January 16, 2014. Defendant requests that the Motion for a

  New Trial be supplemented with additional facts regarding this Court’s refusal to

                                             9
Case 2:11-cr-20468-TGB-MKM ECF No. 1517, PageID.20864 Filed 12/28/15 Page 10 of 14




   allow a juror to ask government witness F.B.I. agent Lafell why the government

   did not subpoena all of Defendant’s records, expenses, cash receipts and books.

         This request to supplement concerns the same evidence at issue in the

   Motion for New Trial, the McKesson records. For the reasons discussed above in

   Section 1, Defendant’s Motion to Supplement Pending Motion for New Trial

   [1105] is DENIED.

      3. MOTION TO FILE SECOND SUPPLEMENT TO PENDING MOTION FOR NEW

         TRIAL [1466]

         Defendant’s Motion to File a Second Supplement to the Pending Motion for

   New Trial [1466] was filed on July 6, 2015. In that Motion [1466], Defendant

   requests the pending Motion for a new trial be supplemented to add a new ground

   in support of the motion, alleging that the Court erred by “allowing Government

   witnesses to testify as lay witnesses” and also by allowing Government witnesses

   who are actually experts to testify as lay people. This request has nothing to do

   with newly discovered evidence, and is not an acceptable basis for a Motion for

   New Trial under Rule 33(b)(1). Accordingly, Defendant’s Motion to File Second

   Supplement to Pending Motion for New Trial [1466] is DENIED.

      4. MOTION TO DISMISS COUNT ONE OF THE INDICTMENT BECAUSE OF

         DUPLICITY ERROR [1093]

                                            10
Case 2:11-cr-20468-TGB-MKM ECF No. 1517, PageID.20865 Filed 12/28/15 Page 11 of 14




         On January 29, 2014, Defendant filed a Motion to Dismiss Count One of the

   Indictment because of Duplicity Error [1093]. For the reasons stated below, the

   Motion to Dismiss Count One of the Indictment because of Duplicity Error [1093]

   is DENIED.

         A Motion to Dismiss for reasons of duplicity in the indictment is pursuant to

   Federal Criminal Rules of Procedure (Fed. Crim. R. P.) 12(b)(3)(B)(i). A 12(b)(3)

   motion is, by definition, a motion that must be made before trial. This Motion to

   Dismiss was filed after verdict and sentencing and Defendant provides no

   justification for failure to file this motion pre-trial and thus has not shown good

   cause as required under Rule 12(c)(3) to justify the untimely the Motion.

   Therefore, the motion is DENIED.

      5. MOTION TO SUPPLEMENT PENDING MOTION TO DISMISS COUNT ONE OF

         THE INDICTMENT BECAUSE OF DUPLICITY ERROR [1121]

         Defendant filed a Motion to Supplement his Pending Motion to Dismiss

   Count One of the indictment [1221] on January 29, 2014. Defendant seeks to add

   one additional authority to supplement his Motion to Dismiss Count One [1093].

   As explained above in Section Four of this Order, the Motion to Dismiss Count

   One of the Indictment [1093] was denied for failure to establish good cause for not

   filing the Motion before the start of the trial. The authority and argument that the

                                             11
Case 2:11-cr-20468-TGB-MKM ECF No. 1517, PageID.20866 Filed 12/28/15 Page 12 of 14




   Defendant raises in this Motion does not remedy that error. Therefore, the Motion

   to Supplement [1121] is DENIED.

      6. MOTION TO SUPPLEMENT PENDING §2255 [1490]

         Defendant filed a Motion to Supplement Pending §2255 Motion on October

   30, 2015 on the Ground that the Court has violated Defendant’s Fifth Amendment

   procedural due process rights in their delay in addressing Defendant’s pending

   Motions. On June 1, 2015 the Sixth Circuit denied Defendant’s Motion for a Writ

   of Mandamus on the pending Motions [1438], stating that those pending Motions

   only became ripe for review after the Court of Appeals had issued their mandate on

   Defendant’s direct appeal in November 2014 given that they were filed after

   Defendant had filed an appeal on February 8, 2013. The Sixth Circuit stated that

   there was not an inordinate delay requiring an order of mandamus. It is also

   important to note that when considering untimely delay rising to the level of a

   constitutional violation of the Sixth Amendment, it is in the context of untimely

   delay that affects the right to a speedy appeal that is at issue. See United States v.

   Smith, 94 F.3d 204, 207 (6th Cir. 1996). Given that Defendant already had an

   appeal pending when he filed his motions, and was also able to file a §2255

   Motion while these Motions were pending, there has been no effect on Defendant’s

   Sixth Amendment Due Process right to a speedy appeal.

                                              12
Case 2:11-cr-20468-TGB-MKM ECF No. 1517, PageID.20867 Filed 12/28/15 Page 13 of 14




           Considering that all previous pending Motions have been dealt with in this

   Order and there has been no delay in Defendant’s right to appeal, the Motion to

   Supplement Pending § 2255 Motion is DENIED.

      7. MOTIONS FOR DISPOSITION ON PENDING MOTIONS [1331; 1486]

           The pending Motions for Disposition on Pending Motions [1331; 1486] are

   in regards to the following Motions: Motion for leave to subpoena records [993],

   Motion for New Trial [1098], Motion to Dismiss Count One of the Indictment

   [1093], Motion for Leave to Supplement Pending New Trial Motion [1105], and

   Second Motion for Leave to Supplement Motion for New Trial [1466]. Defendant

   requests the Court to dispose of the Motions by requesting the Government to

   respond and scheduling evidentiary hearings. This Order effectively disposes of all

   pending Motions referenced in these Motions for Disposition. Therefore, the two

   Motions for Disposition on Pending Motions [1331; 1486] are DISMISSED as

   moot.

      8. MOTION FOR EXTENSION OF TIME TO FILE REPLY TO RESPONSE TO

           MOTION TO VACATE SENTENCE [1510]

           On December 9, 2015, Petitioner filed a Motion for Extension of Time to

   File a Reply re his Motion to Vacate Sentence under 28 U.S.C. § 2255 [1510]. On




                                             13
Case 2:11-cr-20468-TGB-MKM ECF No. 1517, PageID.20868 Filed 12/28/15 Page 14 of 14




   December 15, 2015 Petitioner filed his Reply to Respondent’s Response [1513].

   Therefore, the motion is DENIED as moot.

         IT IS ORDERED that Defendant’s Motion for a New Trial [1098] is

   DENIED; Defendant’s Renewed Motion for Leave to Subpoena Records [993] is

   DENIED; Defendant’s Motion to Supplement Pending Motion for New Trial

   [1105] is DENIED; Defendant’s Motion to File Second Supplement to Pending

   Motion for New Trial [1466] is DENIED; Defendant’s Motion to Dismiss Count

   One of the Indictment [1093] is DENIED; Defendant’s Motion to Supplement

   Pending Motion to Dismiss Count One of the Indictment [1121] is DENIED;

   Defendant’s Motion to Supplement Pending §2255 [1490] is DENIED;

   Defendant’s Motions for Disposition on Pending Motions [1331; 1486] are

   DENIED as moot; Petitioner’s Motion for Extension of Time to File a Reply

   [1506] is DENIED as moot.




                                        s/Arthur J. Tarnow
                                        Arthur J. Tarnow
   Dated: December 28, 2015             Senior United States District Judge




                                          14
